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                         1N THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE



In re:                                                    ) Chapter 11

KONA GRILL,INC., et al.,l                                 ) Case No.: 19-10953 O
                                                            Joint Administration Requested
                                    Debtors.              )


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      CONTRACTS AND UNEXPIRED LEASES PURSUANT TO 11 U.S.C.§ 365,(B)
 ABANDON ANY REMAINING PERSONAL PROPERTY LOCATED AT THE LEASED
  PREMISES,AND(C)FIXING A BAR DATE FOR CLAIMS OF COUNTERPARTIES

                    Upon consideration of the motion (the "Motion")2 of the the above-captioned

debtors and debtors-in-possession (the "Debtors") for entry of an order, pursuant to section 365

of title 11 of the United States Code (the "Bankruptcy Code"), authorizing the Debtors to reject

those unexpired leases set forth in Exhit~it A hereto (the "Reiected Leases"), to abandon any

remaining personal property located at the Leased Premises, and fixing a bar date for filing of

claims of the Counterparties to the Rejected Leases; and it appearing that this Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this

proceeding is a core proceeding pursuant to 28 U.S.C. §§ 1408 and 1409; and adequate notice of

the Motion having been given; and it appearing that no other notice need be given; and after due

deliberation and sufficient cause appearing therefore, IT IS HEREBY ORDERED THAT:

                           The Motion is GRANTED.

' The Debtors and the last four digits of their respective taxpayer identification numbers include: Kona Grill, Inc.
 (6690); Kona Restaurant Holdings, Inc. (6703); Kona Sushi, Inc. (4253); Kona Macadamia, Inc. (2438); Kona
  Texas Restaurants, Inc. (4089); Kona Grill International Holdings, Inc.(1841); Kona Baltimore, Inc.(9163); Kona
  Grill International, Inc.(7911); and Kona Grill Puerto Rico, Inc.(7641). The headquarters and service address for
  the above-captioned Debtors is l 5059 North Scottsdale Road, Suite 300, Scottsdale, Arizona 85254.
2 Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.


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                      2.   The Rejected Contracts listed on Exhibit A attached hereto are deemed

rejected effective as of the date indicated on Exhibit A attached hereto.

                      3.   The Rejected Leases listed on Exhibit B attached hereto are deemed

rejected effective as of the date indicated on Exhibit S attached hereto.

                      4.   The Debtors are authorized to abandon any Remaining Personal Property

located in the Leased Premises underlying the Rejected Leases pursuant to 11 U.S.C. § 554(a).

                      5.   Within three (3) business days after entry of this Order, the Debtors will

serve this Order oti the Counterparty to each Rejected Contract and Lease.

                      6.   The Counterparty to the Rejected Contract or Rejected Lease must file a

claim under section 502 of the Bankruptcy Code or other claims in connection with such

Rejected Lease or the rejection, breach or termination of such Rejected Lease on the later of(a)

thirty (30) days after entry of this Order, or (b) the general claims bar date to be established by

subsequent order of the Court, failing which such claim or claims by the Counterparty shall be

forever barred.

                      7.   The Debtors and any other party-in-interest reserve all rights to contest

any such rejection damage claim and to contest the characterization of each Rejected Contract

and Rejected Lease, as executory or not, and to contest whether such Rejected Contact and

Rejected Lease may have terminated prior to the Petition Date, or otherwise.

                      8.   The Debtors do not waive any claims that they may have against the

Counterparty to any Rejected Contract and Rejected Lease, whether or not such claims are

related to such Rejected Contract and Rejected Lease.




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                   9.    Notwithstanding the possible applicability of Rules 6004(g), 7062, or

9014 of the Federal Rules of Bankruptcy Procedure, or otherwise, the terms and conditions of

this Order shall be immediately effective and enforceable upon its entry.

                   10.   The Debtors are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

                   11.   This Court shall retain jurisdiction with respect to all matters arising from

or relating to the interpretation, implementation, or enforcement of this Order.



Dated:                         , 20179
                                                UNITED STATES BANKRUPTCY JUDGE




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                                        EXHIBIT A

                                   (Rejected Contracts)




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CONTRACTS TO BE REJECTED




                                                                                         DOGS SP:1009b6.
                                                  CONTRACTS TO BE REJECTEDI

                                                                                                                                        Rejection
I~c~~-debtor Co~nterp~rty                1~I4tice Address                          Contract Description
                                                                                                                                      Effective date
                                         p•O. Box 650838                           Facility Services Rental Service                     04/30/2019
Cintas Baton Rouge
                                         Dallas, TX 75265-0838                     Agreement
                                         1720A Crete Street                        Lease Agreement                                      04/30/2019
Leaf Capital Funding, LLC
                                         Moberly, MO 65270
                                         1765 N. Elston Avenue, Suite 201           Master Services Agreement                           04/30/2019
Resource Point Of Sale LLC               Attn: Brittany Markwart
                                                                                                                                                           Case 19-10953-CSS




                                         Chicago, IL 60642
                                         1737 McGee Street                          Master Services Agreement                           04/30/2019
Service Management Group LLC             Attn: Andy Fromm
                                         Kansas City, MO 64108
                                                                                                                                                           Doc 4-3




                                         222 Mill Street, SU 333                   6CY Vertical Compactr~r                              04/30/2019
Greenleaf Compaction, Inc.
                                         Tempe, AZ 85281                           (1914 Galleria Blvd Franklin, TN 37067)
                                         1101 W. Waterloo Road                      Consulting Agreement                                04/30/2019
JB&A Holdings, LLC
                                         Edmond, OK 73025
                                         4851 Lake Brook Drive                                                                          04/30/2019
                                                                                                                                                           Filed 04/30/19




Snagajob                                                                            Sales Order
                                         Glen Allen, VA 23060
                                                                                                                                                           Page 6 of 12




  If the Debtors are required to remove a Rejected Contract from Exhibit A, the Debtors will promptly provide notice to the affected Counterpariy of the
Debtors' intention not to reject such Rejected Contract.


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                                         EXHIBIT B

                                       (Rejected Leases)




DOCS SP:10098C.1
              UNEXPIRED NON-RESIDENTIAL REAL PROPERTY LEASES TIC BE REJECTED


       Nan-Debtor                                              Leased Prerr3ises                                 Rejection
                               fVr~tice Addresses)                                    Le~~e C►+~s~rip~ian
      Caunterparty                                            Address /Store No.                               ~f#~~trve Date


                        c/o Invesc~ Real Estate Company
                        Three Galleria Tower, Suite 500
                        13155 Noel Road
                        Dallas, TX 75240
                                                                                                                                Case 19-10953-CSS




                        Lincoln Property Company
                                                                                   Real property lease dated
1776 WILSON 2014, LLC   4601 N. Fairfax Drive, Suite 1115   Store No. 140
                                                                                   10/28/2014
                        Arlington, VA 22203
                        Attn: Jennifer Roberts
                                                                                                                                Doc 4-3




                        DLA Piper LLP (US)
                        500 Eighth St IVW
                        Washington, DC 20004
                        Attn: Jeffrey R. Keitelman
                        c/o Howard Hughes Corp
                                                                                                                                Filed 04/30/19




                        1790 Hughes Landing, Ste 600
                        The Woodlands, TX 77380

3 WATERWAY              3 Waterway Square Place                                    Real property lease dated
                                                            Store No. 130
HOLDINGS, LLC           c/o Howard Hughes Corp                                     3/12/2Q13
                        One Galleria Tower, 22nd Floor
                                                                                                                                Page 8 of 12




                        13355 Noel Rd, Ste 950
                        Dallas, TX 75240
                        Attn: General Counsel




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                                                                                     ._.._._.._.__.....~.~                    T._.,
                                                                                                                                      i
       Non-Debtor                                           Leased Premises                                   3       R~jectian       ~
                              Nofiiee Address(~s~                                    ,ease Descriptican
      Counterparty                                        address J Store iVc~.                               (   Effect ire Dade
                       c/o Baybrook Lifestyle Center                                                              i         ~~
                       110 N Wacker Dr
BAYBROOK HOLDING,                                                                 Real praperty lease dated
                       Chicago, IL 60606                Store No. 144
LLC                                                                               10/14/2014
                       Attn: Law/lease Administration
                       Dept
                       Next Property Management
                                                                                  Real property lease dated
CFNX Lincolnshire      5215 Old Orchard Rd, Ste 880     Store No. 112
                                                                                  1/26/206
                       Skokie, IL 60077
                                                                                                                                          Case 19-10953-CSS




                       c/o CBL &Associates
                       Management, Inc.
COOLSPRINGS MALL,      CBL Center, Suite 500                                      Real property lease dated
                                                        Store No. 147
LLC                    2030 Hamilton Place Blvd                                   1/26/2015
                                                                                                                                          Doc 4-3




                       Chattanooga, TN 37421
                       Attn: Legal Officer
                       Trademark Property Company
                       Attn: Steve Sumell/Sr. VP
                                                                                  Real property lease dated
CRAWFISH, LLC          Property Mgmt                    Store No. 118
                                                                                  3/2/2061
                       1701 River Run, Suite 500
                                                                                                                                          Filed 04/30/19




                       Ft. Worth, TX 76107
                       8343 Douglas Ave, Suite 200
                       Dallas, TX 75225
                       Attn: Dir of Asset Management
CRP CYPRESS WEST 7TH,                                                             Real property lease dated
                                                        Store No. 131
                                                                                                                                          Page 9 of 12




L.L.C.                CRP Cypress West, LLC                                       3/16/2013
                      8343 Douglas Ave. Suite 200
                      Dallas, TX 75225
                      Attn: General Counsel



DOCS SF:100986.1
       Non-Debtor                                                   .eased Premises                                       Reject~~n
                                      Notice Address{es)                                       I.eas+~ Descr~~tian
      Counterparty                                                ,~~tdress / S~tc~re Na.                               Effective date
                               200 East Long Lake Road
DOLPHIN MALL                                                                                Real property lease dated
                               PO Box 200                       Store No. 137
ASSOCIATES LLC                                                                              11/7/213
                               Bloomfield Hilis, MI 48303
                               ShopCor Properties
                               Attn: Legal
                                                                                            Real property lease dated
EXCEL WVB LLC a                Two Liberty Place, Ste 3325      Store No. 124
                                                                                            9/4/20G7
                               50 S 16th St
                               Philadelphia, PA 19102
                                                                                                                                         Case 19-10953-CSS




                               200 East Ling Lake Road
FAIRFAX COMPANY OF                                                                          Real property lease dated
                               PO Box 200                       Store No. 139
VIRGIfVIA L.L.C.                                                                            5/7/2014
                               Bloomfield Hills, MI 48303
                               c/o Fashion Show
                                                                                                                                         Doc 4-3




                               110 N Wacker Dr
                               Chicago, IL 60606
                               Attn: Law/Lease Administration
FASHION SHOW MALL              Dept                                                         Real property lease dated
                                                                Store No. 146
LLC                                                                                         10/14/014
                               Fashion Show
                                                                                                                                         Filed 04/30/19




                               3200 Las Vegas Blvd
                               Las Vegas, NV 89109
                               Attn: General Manager
                               225 W Washington St
                                                                                            Real property lease dated
HG GALLERIA I, II, III, L.P.   Indianapolis, IN 46204           Store No. 113
                                                                                            2/22/2006
                                                                                                                                         Page 10 of 12




                               Attn: Legal Dept




DOCS SF:100936.1
           Non-Debtor                                               Leaped Premises                                    Refection
                                      Notice Adcfress(es}                                  Lease Description
          Counterparty                                             Address /Stare Na.                                effective Date
                               SKB PM I, LLC
    High Street Buildings
                               Attn: Patricia Ruziska                                   Real property lease dated
    LLC and Tourbillion High                                     Store No. 123
                               5415 High St, Ste 260                                    4/16/2007
    Street LLC
                               Phoenix, AZ 85054
                               200 E Long Lake Rd
    RICH-TAUBMAN                                                                        Real prcaperty lease dated
                               P•O. Box 200                      Store No. 121
    ASSOCIATES                                                                          10/10/2006
                               Bloomfield Hilis, MI 48303-0200
                               225 W Washington St
                                                                                        Real property lease dated
                                                                                                                                      Case 19-10953-CSS




    SPIGL DOMAIN, L.P.         Indianapolis, IN 46204            Store No. 116
                                                                                        2/22/206
                               Attn: Lego! Dept
~                              Attn: General Counsel, Retail
                               Properties
                                                                                                                                      Doc 4-3




                               101 Innovation
    THE IRVINE COMPANY         Irvine, CA 92617                                         Real property lease dated
                                                                 Store No. 142
    LLC                                                                                 2~g~2015
                               Attn: Accounting Department
                               101 Innovation
                               Irvine, CA 92617
                                                                                                                                      Filed 04/30/19




                               200 East Long Lake Road
                                                                                        Real property lease dated
    TRG IMP LLC                PO Box 200                        Store No. 150
                                                                                        10/27/2015
                               Bloomfield Hills, MI 48303
                                                                                                                                      Page 11 of 12




    DOGS SP:100986.1
       Nnn-Debtor                                  Leas~+~ P'rernises                                 Reje~tir~n
                           Notre Address(~s~                               ~.~as~ C~~s~r~ptr~n
      Counterparty                               Adt~r~ss J Stare No.                               ~#feckive Date
                     3111W Chandler Blvd
                     Suite 2018
                     Chandler, AZ 85225
                                                                        Real property lease dated
TWC Chandler LLC                               Store No. 102
                                                                        1/17/2001
                     11411 N Tataum Blvd
                     Phoenix, AZ 85028
                     Attn: Leasing Dept
                                                                                                                     Case 19-10953-CSS
                                                                                                                     Doc 4-3
                                                                                                                     Filed 04/30/19
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DOCS SF:I00986.1
